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 4   Telephone: (559) 497-4000

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                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                         EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,          ) CR. NO. 05-0161 OWW
11                                      )
                    Plaintiff,          )
12                                      )
          v.                            ) STIPULATION RE:
13                                      ) CONTINUANCE AND ORDER
     RADAMES DE LA HOYA,                )
14                                      )
                    Defendant.          )
15   ___________________________________)

16        Defendant RADAMES DE LA HOYA, by and through his attorney,

17   EDMUNDO ESPINOZA,, and the United States of America, by and

18   through its attorneys, McGREGOR W. SCOTT, United States Attorney,

19   and KAREN A. ESCOBAR, Assistant United States Attorney, hereby

20   enter into the following stipulation:

21        1.   The parties to the above-captioned matter agree to vacate

22   the September 25, 2006, sentencing hearing and reset it for

23   September 26, 2006, at 9:00 a.m. in order to allow the parties to

24   meet with the government on September 25 for the purpose of

25   qualifying for safety valve relief.

26   DATED: August 31, 2006                       Respectfully submitted,

27                                                McGREGOR W. SCOTT
                                                  United States Attorney
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 1                                                By: /s/ Karen A. Escobar
                                                    KAREN A. ESCOBAR
 2                                                Assistant U.S. Attorney

 3
     DATED: August 31, 2006                        /s/ Edmundo Espinoza
 4                                                 EDMUNDO ESPINOZA
                                                   Attorney for Defendant
 5                                                 RADAMES DE LA HOYA

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11                                 O R D E R

12          Having read and considered the foregoing stipulation, IT IS
     THE ORDER of the Court that the current sentencing set on
13   September 25, 2006, at 1:30 p.m., is hereby vacated and is reset
     for September 26, 2006, at 9:00 a.m.
14   IT IS SO ORDERED.

15   Dated: September 2, 2006               /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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